        Case 21-10945-amc                         Doc      Filed 09/08/21 Entered 09/08/21 11:55:58                           Desc Main
                                                           Document      Page 1 of 7
 Fill in this information to identify the case:

 Debtor 1        Tammie Bell aka Tammie Edwards


 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                              (State)
 Case number           21-10945-amc




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


   Name of creditor:           Lakeview Loan Servicing, LLC,                     Court claim no. (if known): 4
   Last 4 digits of any number you use to                                        Date of payment change:
   identify the debtor's account:                         2540                   Must be at least 21 days after date    10/01/2021
                                                                                 of this notice

                                                                                 New total payment:                      $ 852.97
                                                                                 Principal, interest, and escrow, if any

Part 1:         Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?

            No
            Yes.            Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                            Describe the basis for the change. If a statement is not attached, explain why: ___________________________
                            __________________________________________________________________________________________
                        Current escrow payment:           $ 498.77 New escrow payment:            $ 487.45


Part 2:        Mortgage Payment Adjustment

 2.     Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?

            No
            Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is
                        not attached, explain why: ___________________________________________________________________
                __________________________________________________________________________________________
                   Current interest rate             _____________%        New interest rate: ___________%

                       Current principal and interest payment: $ _______________ New principal and interest payment: $___________


Part 3:         Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?

            No
            Yes.        Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                        agreement. (Court approval may be required before the payment change can take effect.)
                        Reason for change: ________________________________________________________________________________
                       Current mortgage payment: $ ___________           New mortgage payment: $ __________




Official Form 410S1                                               Notice of Mortgage Payment Change                                     page 1
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                                                            Document      Page 2 of 7
Debtor 1           Tammie Bell aka Tammie Edwards                              Case number (if known) 21-10945-amc
                   First Name     Middle Name       Last Name




Part 4:         Sign Here


    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
    telephone number.
    Check the appropriate box:
             I am the creditor.
             I am the creditor's attorney or authorized agent.


    I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
    knowledge, information, and reasonable belief:




     /s/Daniel P. Jones                                                                  Date   September 8, 2021
    Signature



    Print:               Daniel P. Jones, Bar ID# 321876                                 Title: Attorney for Creditor
                         First Name                 Middle Name    Last Name



    Company              Stern & Eisenberg, P.C.


    Address              1581 Main Street, Suite 200 The Shops at Valley Square
                         Number             Street
                         Warrington, PA 18976
                         City                                      State         ZIP Code


Contact phone 215-572-8111                       Email     djones@sterneisenberg.com




Official Form 410S1                                                Notice of Mortgage Payment Change                               page 2
      Case 21-10945-amc          Doc   Filed 09/08/21 Entered 09/08/21 11:55:58          Desc Main
                                       Document      Page 3 of 7
                                       CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Payment Change was served electronically
through the Court's ECF System at the e-mail address registered with the Court on this Date to the following:

DATE:        September 8, 2021

Cameron Deane                                           William C. Miller, Esq.
3554 Hulmeville Road                                    P.O. Box 40837
Suite 102                                               Philadelphia, PA 19107
Bensalem, PA 19020                                      ecfemails@ph13trustee.com
cdeane@ymalaw.com                                       Bankruptcy Trustee
Counsel for Debtor

U.S. Trustee
Office of the U.S. Trustee
200 Chestnut Street
Suite 502
Philadelphia, PA 19106
USTPRegion03.PH.ECF@usdoj.gov
US Trustee


and by standard first-class mail postage prepaid to:

Tammie Bell aka Tammie Edwards
2210 Fleetwing Drive
Levittown, PA 19057
Debtor(s)



                                                   /s/ Daniel P. Jones
                                               By: Daniel P. Jones, Bar No: 321876
                                                   Stern & Eisenberg, P.C.
                                                   1581 Main Street, Suite 200
                                                   The Shops at Valley Square
                                                   Warrington, PA 18976
                                                   djones@sterneisenberg.com
                                                   Phone: 215-572-8111
                                                   Fax: (215) 572-5025
                                                   Counsel for Movant




Official Form 410S1                         Notice of Mortgage Payment Change                       page 3
                                        Representation of Printed Document
             Case 21-10945-amc                          Doc          Filed 09/08/21 Entered 09/08/21 11:55:58 Desc Main
                                                                     Document      Page 4 of 7         A N N UA L E S C R O W S TAT E M E N T
                                                Pay by mail:
                                                Flagstar Bank • PO Box 660263
                                                Dallas, TX 75266-0263
                                                                                                                    Loan Number:
                                                                                                                    Property Address: 2210 Fleetwing Dr
                                                                                                                    Escrow Analysis Date:                           07/26/2021
                                                                                                                    New Payment:                                       $852.97
                                                                                                                    New Payment Effective Date:                     10/01/2021
         TAMMIE N EDWARDS
         C/O KEAVENEY LEGAL GROUP
         1000 MAPLEWOOD DRIVE STE.202
         MAPLE SHADE NJ 08052-4114
                                                                                                                                      Pay by website:
                                                                                                                                      flagstar.com/myloans

                                                                                                                                      Customer service:
                                                                                                                                      (800) 968-7700
                                                                                                                                      Monday-Friday 7:30 a.m.-8 p.m., ET
Dear Tammie N Edwards,                                                                                                                Saturday 7:30 a.m.-4 p.m., ET
Each year Flagstar Bank reviews the escrow account to ensure the correct amounts are being collected to pay the property taxes and
homeowner's insurance. In reviewing the escrow account, we found an extra $4,159.21 was paid.

Quick breakdown of the Escrow review
Required Escrow Balance                                                      $1,462.37

Current Escrow Balance*                                                       $2,021.28
There is a surplus of                                                        $4,159.21
*Based on all payments and disbursements due being made prior to the new payment effective
date.
For more escrow related information, please reference your Bankruptcy documents filed with
the court.

The information below reflects the details of our review and the new monthly mortgage payment. The surplus was caused by a decrease in the
escrowed items.

Review the Payment

Old Mortgage Payment                                                                           New Mortgage Payment
Principal & Interest                                                             $365.52       Principal & Interest                                                        $365.52
Escrow                                                                           $498.77       Escrow                                                                      $487.45

Monthly Mortgage Payment                                                        $864.29        New Monthly Mortgage Payment                                               $852.97
                                                                                               The new monthly payment is effective October 01, 2021.




How the Escrow Payment Is Calculated                                                           Determining the Escrow Surplus
The new monthly escrow payment is calculated by adding all of the                              As allowed by the Real Estate Settlement Procedures Act (RESPA), the mortgage
disbursements then dividing this figure by 12 months, which equals $487.45.                    documents, or state law, the escrow balance should not go below two months'
                                                                                               tax and insurance payments, which is a minimum balance of $974.90.
Taxes                                           $1,003.31       /12=              $83.61
Insurance                                       $1,912.09       /12=             $159.34       The projected escrow balance in August is expected to be $1,533.81.
Taxes                                           $2,934.02       /12=             $244.50
                                                                                               Required Minimum Balance:                                                   $974.90

                                                                                               Projected Balance:                                                        $1,533.81
Escrow Payment                                                                  $487.45        Escrow Surplus                                                           $4,159.21
                                                                                               If the loan is contractually current, the refund check has been mailed under
                                                                                               separate cover. If the loan is past due, a check representing the surplus in the
                                                                                               escrow account will be issued when the loan has been paid current.

  Equal Housing Lender Member FDIC

                                              (Detach and return the bottom portion with payment. Retain the top portion for your records.)




                                                 This space has been left blank intentionally.
        Perf Page
                                                      Representation of Printed Document
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                                                        Document      Page 5 of 7
Important Information
If you have auto debit for your mortgage payment and have an additional principal amount included, the principal amount will not change but will
be added to your new payment amount. To change your monthly principal amount, please submit a signed written request to our Auto Debit
Department at: Fax: (888) 548-0528, or Mail: Flagstar Bank, Auto Debit Department, Mail Stop E-115-3, 5151 Corporate Drive, Troy MI 48098


Review the Upcoming Escrow Account Activity (10/01/21 to 09/01/22)
The items below reflect the payments we expect to receive each month for the escrow account and the payments we expect to make on your behalf
for the real estate taxes and/or insurance premiums.
Month           Item Description                  Payment to Escrow Payment from Escrow           Expected Balance        Required Balance
                Beginning Balance                                                                      $2,021.28              $1,462.37
10/21                                                  $487.45                     $0.00               $2,508.73              $1,949.82
11/21                                                  $487.45                     $0.00               $2,996.18              $2,437.27
12/21                                                  $487.45                     $0.00               $3,483.63              $2,924.72
01/22                                                  $487.45                     $0.00               $3,971.08              $3,412.17
02/22                                                  $487.45                     $0.00               $4,458.53              $3,899.62
03/22                                                  $487.45                     $0.00               $4,945.98              $4,387.07
04/22           Taxes                                  $487.45                -$1,003.31               $4,430.12              $3,871.21
05/22           Insurance                              $487.45                -$1,912.09               $3,005.48              $2,446.57
06/22                                                  $487.45                     $0.00               $3,492.93              $2,934.02
07/22                                                  $487.45                     $0.00               $3,980.38              $3,421.47
08/22           Taxes                                  $487.45                -$2,934.02               $1,533.81                $974.90
09/22                                                  $487.45                     $0.00               $2,021.26              $1,462.35
                Total                                 $5,849.40               -$5,849.42

Review the Escrow Account History (08/01/21 to 09/30/21)
The items below reflect the expected activity last year and compare it with the actual payments received and disbursements made.

Last year, we anticipated that payments from the escrow account would be made during this period equaling $5,849.42. Under federal law, the
lowest monthly balance should not have exceeded $974.90 or two (2) months of anticipated payments from the escrow account, unless the
mortgage documents or state law specifies a lower amount. The actual lowest monthly balance was $1,533.83.

                                                      PROJECTED                                                   ACTUAL
                       Item            Payment to       Payment from      Escrow Running       Payment to       Payment from       Escrow Running
Month
                    Description          Escrow            Escrow             Balance            Escrow            Escrow              Balance

Beginning Balance                                                             $3,421.47                                               $3,980.40

August         Taxes                        $487.45 @       $2,934.02 @         $974.90             $487.45         $2,934.02          $1,533.83
September                                   $487.45 @           $0.00 @       $1,462.35             $487.45              $0.00         $2,021.28

October                                     $487.45 @           $0.00 @       $1,949.80               $0.00              $0.00         $2,021.28

November                                    $487.45 @           $0.00 @       $2,437.25               $0.00              $0.00         $2,021.28

December                                    $487.45 @           $0.00 @       $2,924.70               $0.00              $0.00         $2,021.28

January                                     $487.45 @           $0.00 @       $3,412.15               $0.00              $0.00         $2,021.28

February                                    $487.45 @           $0.00 @       $3,899.60               $0.00              $0.00         $2,021.28

March                                       $487.45 @           $0.00 @       $4,387.05               $0.00              $0.00         $2,021.28

April          Taxes                        $487.45 @       $1,003.31 @       $3,871.19               $0.00              $0.00         $2,021.28

May            Insurance                    $487.45 @       $1,912.09 @       $2,446.55               $0.00              $0.00         $2,021.28

June                                        $487.45 @           $0.00 @       $2,934.00               $0.00              $0.00         $2,021.28

July                                        $487.45 @           $0.00 @       $3,421.45               $0.00              $0.00         $2,021.28

Total                                     $5,849.40         $5,849.42                               $974.90         $2,934.02

The item indicated in red is the difference from a previous estimate either in date or the amount. An @ symbol indicates a scheduled payment to or
from the escrow account which has not been made. Enclosed you will find a guide and answers to frequently asked questions to further assist you
with understanding the escrow account and the terms in this statement.

If you have any questions, you can contact us via chat at flagstar.com or call us at (800) 968-7700.

Questions with regard to a change in your tax payment should be directed to your taxing authority and changes in your insurance premium should
be directed to your insurance agent.




                                                              INTERNET REPRINT
               Case 21-10945-amc          Doc      Filed 09/08/21 Entered 09/08/21 11:55:58                                                                                                              Desc Main
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               Get to know your escrow statement.
                We want this statement to be a useful mortgage management tool that offers you the opportunity to
                easily understand information about the escrow account. This guide outlines the details provided on
                the statement, explains the items that may appear, and defines the terms that are used.

 How to read the statement:

  A       Loan Information
          This section provides the new payment
          amounts and the date when the new                                                                    Pay by mail:
                                                                                                                                                                                                               " / / 6" -&4 $3 0 84 5"5&. &/5


          payment is effective.                                                                                PO Box 660263
                                                                                                               Dallas, TX 75266-0263                                            -PBO/VNCFS
                                                                                                                                                                                1SPQFSUZ"EESFTT4USFFU"WF%SJWF


                                                                                  /BNF-JOF                                                           A                      Escrow Analysis Date:                                         12/01/2016

  B       Payment Options and Contact Information                                 /BNF-JOF
                                                                                  4FDPOE4USFFU
                                                                                                                                                                                /FX1BZNFOU:                $12,000.00
                                                                                                                                                                                /FX1BZNFOUE ective Date: 01/01/2017
          We offer several convenient methods                                     )PNFUPXO .*


          to make the payments.
                                                                                                                                                          B                                                  Customer service:
                                                                                                                                                                                                             (800) 968-7700
                                                                                                                                                                                                             Monday-Friday 7:30 a.m. - 8 p.m.,
 C        Explanation of Escrow Analysis                                                                                                                                                                     ETSaturday 7:30 a.m. - 4 p.m., ET


          Summarizes the results of the annual escrow             &BDIZFBS'MBHTUBS#BOLSFWJFXTZPVSFTDSPXBDDPVOUUPFOTVSFUIFDPSSFDUBNPVOUTBSFCFJOHDPMMFDUFEUPQBZZPVSQSPQFSUZUBY FTBOEIPNFPXOFST
                                                                  JOTVSBODF*OSFWJFXJOHZPVSFTDSPXBDDPVOU XFGPVOEZPVQBJEBOFYUSB
          analysis and explains the change(s) to the
                                                                  2VJDLCSFBLEPXOPGUIFFTDSPXSFWJFX
          tax and/or insurance premiums and the                                                                                                                                                    $PSQPSBUF%SJWF
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                                                                                                                                                                                                  See Attached Escrow Surplus Check                   DOLLARS
                                                                                                                                                                                                                                                      D
                                                                                                                                                                                                                                                                Security
                                                                                                                                                                                                                                                                Features




          effect it will have on the monthly mortgage
                                                                                                                                                                                                                                                                Details on
                                                                                                                                                                                                                                                                Back.




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                                                                  :PVIBWFBTVSQMVTPG                                                  
          payment.                                                date.
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 D Review the Payment                                              3FWJFX5IF1BZNFOU0QUJPOT                            D
   This section explains exactly how the old and                  0ME.PSUHBHF1BZNFOU                                                                  /FX.PSUHBHF1BZNFOU
                                                                  1SJODJQBM*OUFSFTU                                                         1SJODJQBM*OUFSFTU                                                                             
   new monthly payments are broken down for                       &TDSPX                                                                       &TDSPX                                                                                           

                                                                  .POUIMZ.PSUHBHF1BZNFOU                                                     /FX.POUIMZ.PSUHBHF1BZNFOU                                                                    
   principal, interest, and escrow amounts.

  E       How the Escrow Payment is Calculated
                                                                                                                                        E                                                                                                      F
                                                                  )PX5IF&TDSPX1BZNFOU*T$BMDVMBUFE
          Provides the calculation used to determine              :PVSOFXNPOUIMZFTDSPXQBZNFOUJTDBMDVMBUFECZBEEJOHBMMPGZPVSEJTCVSTFNFOUT     "TBMMPXFECZUIF3FBM&TUBUF4FUUMFNFOU1SPDFEVSFT"DU 3&41" ZPVSNPSUHBHF
                                                                                                                                                EPDVNFOUT PSTUBUFMBX UIFFTDSPXCBMBODFTIPVMEOPUHPCFMPXUXPNPOUIT

          the monthly escrow payment.                             .PSUHBHF*OT                                                 
                                                                                                                                                        UBYBOEJOTVSBODFQBZNFOUT XIJDIJTBNJOJNVNCBMBODFPG

                                                                  )B[BSE*OT                                                         :PVSQSPKFDUFEFTDSPXCBMBODFJO+VMZJTFYQFDUFEUPCF
                                                                  $PVOUZ5BY                                                   
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                                                                                                                                                        3FRVJSFE.JOJNVN#BMBODF                                                                        
  F       How the Escrow Surplus is Calculated
                                                                  &TDSPX1BZNFOU                                                               &TDSPX4VSQMVT                                                                                    
          This section shows how to determine the
          escrow shortage/surplus, and the minimum                   &RVBM)PVTJOH-FOEFS .FNCFS'%*$                                                                                                                                               1BHFPG9


          balance required in the escrow account at
          all times.

  G Escrow Surplus Check                                                                                                                              G
    If the loan is current at the time of the analysis,
    a check representing the escrow surplus will
    be attached to the escrow statement. If there is
    a minor surplus, instead of issuing a refund
    check, the funds will be deducted from the
    monthly payment(s).
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 H Important Information                                                  CFEJSFDUFEUPZPVSJOTVSBODFBHFOU
                                                                          *GZPVIBWFBVUPEFCJUGPSZPVSNPSUHBHFQBZNFOUBOEIBWFBOBEEJUJPOBMQSJODJQBMBNPVOUJODMVEFE UIFQSJODJQBMBNPVOUXJMMOPUDIBOHFCVUXJMM
                                                                          CFBEEFEUPZPVSOFXQBZNFOUBNPVOU5PDIBOHFZPVSNPOUIMZQSJODJQBMBNPVOU QMFBTFTVCNJUBTJHOFEXSJUUFOSFRVFTUUPPVS"VUP%FCJU
   Special messages or announcements about                                %FQBSUNFOUBU'BY   PS.BJM'MBHTUBS#BOL "VUP%FCJU%FQBSUNFOU .BJM4UPQ& $PSQPSBUF%SJWF 5SPZ.*

                                                                          3FWJFX5IF6QDPNJOH&TDSPX"DDPVOU"DUJWJUZ(07/01/16 to 06/01/17)
   the account are shown here. Also, details on                           5IFJUFNTCFMPXSFGMFDUUIFQBZNFOUTXFFYQFDUUPSFDFJWFFBDINPOUIGPSZPVSFTDSPXBDDPVOUBOEUIFQBZNFOUTXFFYQFDUUPNBLF POZPVSCFIBMG


   the necessary action to take if the payment is
                                                                          GPSZPVSSFBMFTUBUFUBYFTBOEPSJOTVSBODFQSFNJVNT
                                                                          Month           Item Description                  Payment to Escrow    Payment from Escrow        Expected Balance
                                                                                                                                                                                                               I
                                                                                                                                                                                                    Required Balance
                                                                                          #FHJOOJOH#BMBODF                                                                                       
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   set up through an automatic method will be                             
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   provided here.                                                         
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                                                                                     3CQ.JQ                                                                                   

  I       Upcoming Escrow Activity                                        
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                                                                                     3CQ.JQ                                                                                   
          This is the expected payments to and disburse-                  
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          ments from the escrow account. The expected                                    5PUBM%JTCVSTFNFOUT                                                                                                  

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          payments are based off of the actual amounts                                                                                                                         J
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                                                                          -BTUZFBS XFBOUJDJQBUFEUIBUQBZNFOUTGSPNZPVSBDDPVOUXPVMECFNBEFEVSJOHUIJTQFSJPEFRVBMJOH 6OEFSGFEFSBMMBX ZPVSMPXFTU
          paid the prior year. The minimum balance will                   NPOUIMZCBMBODFTIPVMEOPUIBWFFYDFFEFE PSUXP  NPOUITPGBOUJDJQBUFEQBZNFOUTGSPNZPVSFTDSPXBDDPVOU VOMFTTZPVSNPSUHBHF
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          be noted with an asterisk ( * ).                                130+&$5&%                                                                                                                                       "$56"-
                                                                                                 Item             Payment to       Payment from       Escrow Running       Payment to                           Payment from         Escrow Running
                                                                          Month
                                                                                              Description           Escrow            Escrow              Balance            Escrow                                Escrow                Balance



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                                                                          #FHJOOJOH#BMBODF                                                                                                                                           
          Escrow Account History                                          .BZ             3CQ.JQ                                                                                                           
                                                                          +VOF            3CQ.JQ                      !             !                                                                    
          This section will show you the actual pay-                      +VMZ            3CQ.JQ                      !             !                                                                        



          ments into, and disbursements out of the
          escrow account for the last analysis period.
          This information can be helpful to you when
          determining changes with the escrowed
          items that caused a change to the payment.


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           Case 21-10945-amc                 Doc         Filed 09/08/21 Entered 09/08/21 11:55:58 Desc Main
                                                         Document      Page 7 of 7        » E SCR O W STATE ME N T FAQ S



 What is an escrow analysis?
 An escrow analysis is a review of your escrow account to determine if the current monthly escrow payment is enough to pay taxes, insurance,
 and other bills when due. Escrow analyses are typically run annually based on the property tax payment cycle. Occasionally, the payment of taxes
 or insurance causes the escrow account to reach a negative balance, and it may be necessary to perform more than one analysis during the year.

 Can I waive my escrow account?
 Escrow accounts are required and cannot be waived on FHA (Federal Housing Administration), GRH (Guaranteed Rural Housing) or VA (Veteran
 Affairs) loans.

 Escrow accounts on other types of loans, such as Fannie Mae or Freddie Mac loans, may be waived if certain conditions are met. Some basic
 conditions to determine eligibility for escrow waivers are:

        • The loan-to-value ratio of your loan must be 80 percent or less.

        • There have not been any payments over 30 days late in the last 12 months.

        • Loan is not in a Special Flood Hazard Area (SFHA).

        • The loan cannot be in foreclosure, bankruptcy or loss mitigation.

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 Please note that an escrow waiver fee equal to 0.25 percent of the current principal balance or $150, whichever is greater, is charged.
 This fee will be charged unless not permitted by applicable state law.

 Why do I have an escrow surplus?
 A surplus is typically caused by a decrease in tax or insurance payments, but a surplus can also occur when too much has been
 collected for the escrow account in the previous year or at closing. It is possible to have a surplus, even if tax and insurance amounts
 have increased over the past year. When this occurs, the monthly escrow payment may still be increased to ensure there are enough
 funds to pay the increased taxes and insurance.

 Note: If there is a minor surplus, instead of issuing a refund, the funds are used to reduce the monthly payment(s). The surplus is divided
 by the number of months starting with the “new payment due date” and ending after the month of the “low point” in the escrow
 account. The new escrow payment is reduced for this number of payments. Please refer to the Escrow Statement to determine if the
 surplus was retained in the escrow account.

 Can you apply my surplus to my loan?
 We refund escrow surpluses to the borrowers. Borrowers may cash their surplus check and use the funds in any manner they choose,
 including applying it to their loans.

 When will I receive my escrow surplus check?
 If the loan is current, the surplus check will be mailed 7 – 10 business days from when it was processed. If the loan is past due, a surplus
 refund check will be disbursed when the loan is current.

 If you are in bankruptcy and the account is contractually current, the refund check will be mailed separately 7 – 10 days from when it
 was processed. However, if the account is past due, the escrow surplus check will be disbursed when the account is current.

 Why didn’t I receive my escrow surplus check?
 If the loan was past due at the time the escrow analysis was performed, the escrow surplus check will be disbursed when the loan
 becomes current. If you have not received the escrow surplus check after you have brought the loan current, please contact the
 Customer Service Department.

 What if my surplus check was lost or stolen?
 If you lost the surplus check after receiving it or it was stolen, please contact the Customer Service Department so we can place a stop
 payment on the check and reissue.

 Whom do I contact to update my loan with the correct tax amounts information?
 Since we may already receive the tax information from the taxing authority, please call the Customer Service Department to discuss the
 information we may need from you.

 My insurance carrier has changed. What do I do?
 Please call the Insurance Department at (833) 811-3061. Representatives are available Monday - Friday 7:30 a.m.-8 p.m. ET.



 Please refer to flagstar.com/myloans for a full list of Escrow FAQs.




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